B1 (OfficialCase  14-00227-SMT
             Form 1) (4/10)                      Doc 1 Filed 04/17/14 Entered 04/17/14 10:17:47 Desc Main
                                                         Document
                                     United States Bankruptcy  Court Page 1 of 3
                                          District of Columbia                             Voluntary Petition

 Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
   Jordan, Byron, Webster                                                                         Holt-Jordan, Helen, Monique
 All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):
                                                                                                  n/a
Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN(if more            Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN(if more than
than one, state all):                                                                            one, state all):           4098
 Street Address of Debtor (No. & Street, City, and State):                                       Street Address of Joint Debtor (No. & Street, City, and State):
   2665 Martin Luther King Jr. Ave. SE #303                                                       2665 Martin Luther King Jr. Ave. SE #303
   Washington, DC                                                                                 Washington, DC
                                                             ZIP CODE          20020                                                                          ZIP CODE           20020
 County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
   Washington, DC                                                                                 Washington, DC
 Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):

                                                             ZIP CODE             ,                                                                           ZIP CODE              ,
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                              ZIP CODE
                      Type of Debtor                                           Nature of Business                               Chapter of Bankruptcy Code Under Which
                    (Form of Organization)                       (Check one box)                                                   the Petition is Filed (Check one box)
                       (Check one box.)
                                                                     Health Care Business                                 Chapter 7                        Chapter 15 Petition for
        Individual (includes Joint Debtors)                          Single Asset Real Estate as defined in 11                                             Recognition of a Foreign
                                                                                                                          Chapter 9
        See Exhibit D on page 2 of this form.                        U.S.C. § 101(51B)                                                                     Main Proceeding
        Corporation (includes LLC and LLP)                           Railroad                                            Chapter 11
                                                                                                                                                           Chapter 15 Petition for
        Partnership                                                  Stockbroker                                         Chapter 12                        Recognition of a Foreign
        Other (If debtor is not one of the above entities,           Commodity Broker                                                                      Nonmain Proceeding
                                                                     Clearing Bank                                       Chapter 13
        check this box and state type of entity below.)
        _____________________                                        Other                                                                    Nature of Debts
                                                                                                                                                (Check one box)
                                                                              Tax-Exempt Entity                          Debts are primarily consumer                  Debts are primarily
                                                                            (Check box, if applicable)                   debts, defined in 11 U.S.C.                   business debts.
                                                                                                                         § 101(8) as “incurred by an
                                                                        Debtor is a tax-exempt organization              individual primarily for a
                                                                        under Title 26 of the United States              personal, family, or house-
                                                                        Code (the Internal Revenue Code.)                hold purpose.”
                                  Filing Fee (Check one box)                                                                          Chapter 11 Debtors
                                                                                                     Check one box:
      Full Filing Fee attached
                                                                                                           Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
      Filing Fee to be paid in installments (applicable to individuals only). Must attach                  Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
      signed application for the court's consideration certifying that the debtor is                 Check if:
      unable to pay fee except in installments. Rule 1006(b) See Official Form 3A.
                                                                                                           Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                           insiders or affiliates) are less than $2,343,300 (amount subject to adjustment on
      Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                         4/01/13 and every three years thereafter).
      attach signed application for the court's consideration. See Official Form 3B.                 Check all applicable boxes
                                                                                                           A plan is being filed with this petition
                                                                                                           Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                           of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                   THIS SPACE IS FOR
                                                                                                                                                                          COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative
      expenses paid, there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 1-           50-          100-         200-        1,000-       5,001-       10,001-     25,001-        50,001-     Over
 49           99           199          999         5,000        10,000       25,000      50,000         100,000     100,000
 Estimated Assets

 $0 to   $50,001 to       $100,001 to     $500,001 to $1,000,001 $10,000,001 $50,000,001 $100,000,001                 $500,000,001     More than $1
 $50,000 $100,000         $500,000        $1          to $10     to $50      to $100     to $500                      to $1 billion    billion
                                          million     million    million     million     million
 Estimated Liabilities

 $0 to   $50,001 to       $100,001 to     $500,001 to $1,000,001 $10,000,001 $50,000,001 $100,000,001
                                                                                                                      $500,000,001     More than $1
 $50,000 $100,000         $500,000        $1          to $10     to $50      to $100     to $500
                                                                                                                      to $1 billion    billion
                                          million     million    million     million     million
B1 (OfficialCase  14-00227-SMT
             Form 1) (4/10)                                Doc 1          Filed 04/17/14 Entered 04/17/14 10:17:47                                               DescFORM
                                                                                                                                                                      Main B1, Page 2
Voluntary Petition                                                        Document NamePage   2 of 3
                                                                                         of Debtor(s):
  (This page must be completed and filed in every case)
                                                                                                 Byron Webster Jordan, Helen Monique Holt-Jordan
                                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                                        Case Number:                                              Date Filed:
 Where Filed:          NONE
 Location                                                                                        Case Number:                                              Date Filed:
 Where Filed:
                            Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
 Name of Debtor:                                                                                 Case Number:                                              Date Filed:
 NONE
 District:                                                                                       Relationship:                                             Judge:


                                           Exhibit A                                                                                      Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                     (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                         whose debts are primarily consumer debts)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)              I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                 have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                                 12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                 available under each such chapter. I further certify that I have delivered to the
                                                                                                 debtor the notice required by 11 U.S.C. § 342(b).
        Exhibit A is attached and made a part of this petition.                                     X /s/Jeffrey C. Tuckfelt                                   4/17/2014
                                                                                                        Signature of Attorney for Debtor(s)                      Date
                                                                                                        Jeffrey C. Tuckfelt                                     212613
                                                                                           Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
      Yes, and Exhibit C is attached and made a part of this petition.
       No

                                                                                           Exhibit D

 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

             Exhibit D completed and signed by the debtor is attached and made a part of this petition.

 If this is a joint petition:

             Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                        Information Regarding the Debtor - Venue
                                                                                   (Check any applicable box)
                          Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                          preceding the date of this petition or for a longer part of such 180 days than in any other District.

                          There is a bankruptcy case concerning debtor's affiliate. general partner, or partnership pending in this District.


                          Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District. or
                          has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
                          this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                             Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                     (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following).



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)
                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                          filing of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                                                                                                                                                                 Main B1, Page 3
Voluntary Petition                                                      Document NamePage   3 of 3
                                                                                       of Debtor(s):
  (This page must be completed and filed in every case)                                      Byron Webster Jordan, Helen Monique
                                                                                             Holt-Jordan
                                                                                     Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                     Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this petition is true    I declare under penalty of perjury that the information provided in this petition is true
and correct.                                                                                 and correct, that I am the foreign representative of a debtor in a foreign proceeding,
[If petitioner is an individual whose debts are primarily consumer debts and has             and that I am authorized to file this petition.
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such       (Check only one box.)
chapter, and choose to proceed under chapter 7.
                                                                                                   I request relief in accordance with chapter 15 of Title 11, United States Code.
[If no attorney represents me and no bankruptcy petition preparer signs the petition] I            Certified Copies of the documents required by § 1515 of title 11 are attached.
have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                   Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States Code, specified         Chapter of title 11 specified in the petition. A certified copy of the
in this petition.                                                                                  order granting recognition of the foreign main proceeding is attached.

   X s/ Byron Webster Jordan                                                                 X Not Applicable
       Signature of Debtor        Byron Webster Jordan                                           (Signature of Foreign Representative)

   X s/ Helen Monique Holt-Jordan
       Signature of Joint Debtor Helen Monique Holt-Jordan                                       (Printed Name of Foreign Representative)

       Telephone Number (If not represented by attorney)
       4/17/2014                                                                                 Date
       Date
                                  Signature of Attorney                                                           Signature of Non-Attorney Petition Preparer
  X /s/Jeffrey C. Tuckfelt                                                                   I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined
     Signature of Attorney for Debtor(s)
                                                                                             in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided the
                                                                                             debtor with a copy of this document and the notices and information required under 11
     Jeffrey C. Tuckfelt Bar No. 212613                                                      U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or guidelines have been
     Printed Name of Attorney for Debtor(s) / Bar No.                                        promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable
                                                                                             by bankruptcy petition preparers, I have given the debtor notice of the maximum amount
     Obergh and Berlin                                                                       before preparing any document for filing for a debtor or accepting any fee from the debtor,
                                                                                             as required in that section. Official Form 19 is attached.
     Firm Name
     Suite 700 1300 Pennsylvania Avenue, NW
     Address                                                                                     Not Applicable
                                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
      Washington, DC 20004

     202 347-3520                                       202 204 2578
                                                                                                Social-Security number (If the bankruptcy petition preparer is not an individual, state
     Telephone Number                                                                           the Social-Security number of the officer, principal, responsible person or partner of
     4/17/2014                                                                                  the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)

     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a              Address
     certification that the attorney has no knowledge after an inquiry that the
     information in the schedules is incorrect.

                 Signature of Debtor (Corporation/Partnership)
                                                                                             X Not Applicable
I declare under penalty of perjury that the information provided in this petition is true
and correct, and that I have been authorized to file this petition on behalf of the             Date
debtor.
                                                                                                Signature of bankruptcy petition preparer or officer, principal, responsible person, or
                                                                                                partner whose Social-Security number is provided above.
The debtor requests the relief in accordance with the chapter of title 11, United States
Code, specified in this petition.                                                               Names and Social-Security numbers of all other individuals who prepared or assisted
                                                                                                in preparing this document unless the bankruptcy petition preparer is not an
 X Not Applicable                                                                               individual.
     Signature of Authorized Individual                                                         If more than one person prepared this document, attach to the appropriate official form
                                                                                                for each person.

     Printed Name of Authorized Individual                                                      A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                                the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                                both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Title of Authorized Individual


     Date
